                     Case 06-61293-reb                     Doc 36           Filed 08/01/06 Entered 08/01/06 17:24:18                                     Desc
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                                                 UNITED SATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF GEORGIA
                                                         ATLANTA DIVISION
 In Re:                                                                                                                                        Case # A06-61293-REB
   Rachel Shannon Cartwright
   630 Beckenham Walk Drive
   Dacula, GA 30019




    SSN#1: XXX-XX-2450

                                          JOINT INTERIM STATEMENT FOR TRANSFERRED CASE

Case Filed On: 02/06/2006              Plan Confirmed Date: 05/16/2006                  Case Transferred on: 07/31/2006

THIS CASE IS TRANSFERRED.
James H. Bone has maintained a detailed record of all receipts, including the source or other identification of each receipt, and of all
disbursements. Copies of these detailed records are incorporated by reference in this report.

DIVIDENDS TO UNSECURED CREDITORS.... 100.00 %
RECEIPTS: $2,116.00
Amount paid to the Trustee by or for the Debtor for the benefit of creditors.

DISBURSEMENTS TO CREDITORS:
                                                                   CLAIM              PRIN            INT                PAID         TOTAL PAID             PRINCIPAL
                                                                   AMOUNT             PAID            PAID               DIRECT       BY TRUSTEE             BALANCE

ASSOCIATED CREDIT UNION                                         $18,382.28           $345.00          $0.00               $0.00            $345.00            $18,037.28
B-Real, LLC                                                        $297.32             $0.00          $0.00               $0.00              $0.00               $297.32
CAPITAL ONE BANK                                                   $683.79             $0.00          $0.00               $0.00              $0.00               $683.79
FDS BANK / MACY'S                                                  $598.93             $0.00          $0.00               $0.00              $0.00               $598.93
GENERAL MOTORS ACCEPTANCE CORP.                                  $1,268.42             $0.00          $0.00               $0.00              $0.00             $1,268.42
TAYLOR BEAN & WHITAKER MTG                                      $12,207.26             $0.00          $0.00               $0.00              $0.00            $12,207.26
WELLS FARGO FINANCIAL GA., INC                                     $180.00             $0.00          $0.00               $0.00              $0.00               $180.00
WELLS FARGO FINANCIAL GA., INC                                     $209.61             $0.00          $0.00               $0.00              $0.00               $209.61
WORLD FIN. NETWORK NAT'L BANK                                      $184.46             $0.00          $0.00               $0.00              $0.00               $184.46


SUMMARY OF CLAIMS ALLOWED AND PAID:
                                          SECURED                      PRIORITY                GENERAL                 DEBTOR REFUND                 TOTAL


Amt Allowed                              $30,769.54                          $0.00                 $1,764.50                         $0.00                   $32,534.04
Principal Paid                              $345.00                          $0.00                     $0.00                                                    $345.00
Interest Paid                                 $0.00                          $0.00                     $0.00                                                      $0.00
Direct Paid                                   $0.00                          $0.00                     $0.00                                                      $0.00

COURT COSTS AND OTHER EXPENSES OF ADMINISTRATION
Filing                 Noticing                          Trustee
Expense                Expense                           Expense
$0.00                  $0.00                             $110.92

OTHER DISBURSEMENTS UNDER ORDER OF THE COURT:
Debtor's Attorney                                      Fee Allowed       Fee Paid
CLARK & WASHINGTON                                       $2,500.00        $1,656.91
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WHEREFORE, James H. Bone, Resigning Trustee, respectfully shows the Court that the estate has been properly administered
through the date reflected below in accordance with the requirements of the Bankruptcy Code and Rules, and the estate is ready
to be transferred to Adam Goodman, Successor Trustee.

James H. Bone, resigning Trustee, hereby certifies that this report is correct to the best of his knowledge, information, and belief.


Dated: 07/31/2006                                                                          /s/
                                                                                          James H. Bone Chapter 13 Trustee


Adam Goodman, successor Trustee, hereby files this report as the accounting for the estate in compliance with FRBP 2012.

Dated: 07/31/2006
                                                                                           /s/
                                                                                          Adam Goodman Chapter 13 Trustee
